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                            Exhibit T
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AttyLeahy@outlook.com

From:                              Matthew A. Morris <MMorris@sherin.com>
Sent:                              Wednesday, December 14, 2022 4:20 PM
To:                                Iris Leahy
Subject:                           RE: Westborough SPE, LLC - 231 Turnpike Road - Westborough
Attachments:                       Certificate of Revival and Good Standing.pdf; EntitySearchStatusCopy_12142022-
                                   combined.pdf; Westborough SPE LLC MA Corporations Search Entity Summary.pdf


Iris,

I attach a Delaware Certificate of Revival and Good Standing and the status of today's entity search with the State of
Delaware. Please note that Westborough SPE LLC is registered in Massachusetts as a foreign limited liability company
(see attached screen shot), and the new owners of the LLC (Lolonyon Akouete and Denise Edwards) are both authorized
real estate signatories for this entity. I asked my clients to request a MA certificate of good standing and we will provide
it to you as soon as we receive it.

Best,
Matt

Matthew A. Morris, LL.M., Esq.
Sherin and Lodgen LLP
101 Federal Street, 30th Floor
Boston, MA 02110
617.646.2130 (direct)
mmorris@sherin.com
https://www.sherin.com/attorneysimatthew-a-morris/

From: Iris Leahy <AttyLeahy@outlook.com>
Sent: Wednesday, December 14, 2022 1:16 PM
To: Matthew A. Morris <MMorris@sherin.com>
Subject: RE: Westborough SPE, LLC - 231 Turnpike Road - Westborough

CAUTION: External Email

Hello Again,

I forwarded your below email to the Treasurer and received a response.

Without proof of title from your client, the town cannot spend the time calculating the balance of the tax title. As I
previously noted, since the town has owned the property for almost a year, taxes have not been assessed on the property in
that time.

Also, the town is wary of increasing the legal fee balance on the property and has instructed me not to continue
communications unless or until I receive proof of title showing your clients have a legal interest in the property.

Also, to be clear, the right of redemption for any previous owner was lost with the entry of the final judgment. Therefore,
the town does not have to accept payment of the tax title balance. As stated in my previous email, the town is opposed to
allowing a vacation of the judgment and redemption of the property. Any payment presented to the town for the tax


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title will be returned. Further, the town does not have evidence that your clients have a legal interest in the property and
therefore should not accept payment from them.

Thank you,

Iris A. Leahy, Esq.

Law Office of Iris A. Leahy
4 Open Square Way, Suite 217
Holyoke, MA 01040
Phone: (413)322-8318
Fax: (413)322-8661
attyleahy@outlook.com

From: Iris Leahy
Sent: Wednesday, December 14, 2022 12:47 PM
To: Matthew A. Morris <MMorris@sherin.com>
Subject: RE: Westborough SPE, LLC - 231 Turnpike Road - Westborough

Hello Matt,

I will request the info from the town. However, it will take some time because they have to calculate the taxes and
interested owed since the date of foreclosure.

Also, the town will not accept payment on the tax title unless ordered to by the Land Court if the judgment is vacated.

Thank you,

Iris A. Leahy, Esq.

Law Office of Iris A. Leahy
4 Open Square Way, Suite 217
Holyoke, MA 01040
Phone: (413)322-8318
Fax: (413)322-8661
attyleahy@outlook.com

From: Matthew A. Morris <MMorris@sherin.com>
Sent: Wednesday, December 14, 2022 11:06 AM
To: Iris Leahy <AttyLeahy@outlook.com>
Subject: RE: Westborough SPE, LLC - 231 Turnpike Road - Westborough

Iris,

We are in the process of gathering the information you requested. Can you please provide the current payoff amount
with an approximate breakdown of tax/interest, utility charges, legal fees, and any other charges? Regardless of
whether the town assents to the motion to vacate, we still plan to pay off the full balance due in the next week or so.

Thanks,
Matt

Matthew A. Morris, LL.M., Esq.
Sherin and Lodgen LLP
101 Federal Street, 30th Floor
                                                              2
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mmorris@sherin.com
https://www.sherin.comiattorneys/matthew-a-morrisi

From: Iris Leahy <AttvLea hv@outlook.com>
Sent: Wednesday, December 14, 2022 10:56 AM
To: Matthew A. Morris <MMorris@sherin.com>
Subject: Westborough SPE, LLC - 231 Turnpike Road - Westborough

CAUTION: External Email

Hello Matthew,

I confirmed with my client, the Town of Westborough, they would be opposed to vacating the judgment in 19 TL 000768
on the above-referenced property.

As we discussed, please provide me with the information your clients have showing proof of title for the purchase of
Westborough SPE, LLC. Additionally, has the corporation been revived in Delaware? Please note, if a motion to vacate is
brought before the Land Court without proof of title, the town has requested I make a motion to oppose the motion and
request payment from your clients of legal fees for the time it will take to hold a hearing.

I am awaiting confirmation from the town but I believe they have accepted a bid on the property. I'm not sure what the
closing date is for the sale.

Thank you,

Iris A. Leahy, Esq.

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delivery or exchange of manually-affixed original signatures on original documents.

If you have any questions regarding this disclaimer, please contact Sherin and Lodgen LLP at 617.646.2126




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